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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Randy Gross, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:19−cv−02743
                                                      Honorable Martha M. Pacold
Howard Chapman, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 11, 2020:


        MINUTE entry before the Honorable Jeffrey Cole: Telephone status conference
held on 12/11/20. The parties have announced that the case is settled. All matters relating
to the referral having been accomplished, the referral is closed and the case returned to
Judge Pacold. Counsel are to be congratulated for all their efforts in resolving what was a
most difficult case.Mailed notice (yt)




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